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IN THE UNITED sTATEs DIsTRIcT coURT “%/ 0""'
FoR THE wEsTERN DISTRICT oF TENNESSEE USJUN ~7 FH h
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MARK J. cHI:DEsTER, F‘AEMPHrs'

Plaintiff.
v. NO. 02-2556 Ma/A

CITY OF MEMPHIS, et al.,

Defendants.

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ORDER GR.ANTING DEFEN'DANT CITY OF MEMPHIS' MOTION TO DISMISS THE
CITY OF MEMPHIS AND DISMISSING DEFEN`DA.NT W.E. CREWS IN HIS
OFFICIAL CAPACITY

 

Plaintiff Mark Chidester brings this action under 42 U.S.C. §
1983, alleging that Memphis and Shelby County police officers
violated his First, Fourth, Sixth, and Fourteenth Amendment rights.
Chidester also brings state law claims of assault, intentional
infliction of emotional distress, and official misconduct.
Chidester's complaint names defendants the City of Memphis; Shelby
County; W.E. Crews in his personal and official capacity as
Director of the Memphis Police Department; A.C. Gilless in his
personal and official capacity as Sheriff of Shelby County;
Sergeant D.L. Bickerstaff in his personal and official capacity as
an officer of the Memphis Police Department; Officer J.H. Thomas in
his personal and official capacity as a deputy of the Shelby County

Sheriff’s Department; Officer Michael R. Reynolds in his personal

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and official capacity as a police officer of the Shelby County
Sheriff’s Department; Sergeant Bennie Morris in his personal and
official capacity as a sergeant of the Shelby County Sheriff's
Department; and Lieutenant Ken Landry in his personal and official
capacity as a lieutenant and Official of the Internal Affairs
Division of the Shelby County Sheriff’s Department. Chidester seeks
declaratory relief and compensatory and punitive damages.

On January 27, 2005, this court entered an order dismissing
all claims against Sergeant Bickerstaff of the Memphis Police
Department. Also on January 27, 2005, this court entered a
stipulated order dismissing W.E. Crews in his individual capacity.
On February 4, 2005, the City of Memphis (the “City”) filed a
motion asking the court to dismiss it as a defendant because none
of the City’s police officers remain defendants in the suit.
Chidester filed a response on February 23, 2005.

The City's claim that no City police officers remain
defendants in the suit is not precisely correct. W.E. Crews remains
a defendant in his official capacity. Official capacity suits,
however, “generally' represent only' another' way' of pleading an
action against an entity of which an officer is an agent.” Monell
v. New York CitV Dept. of Social Services, 436 U.S. 658, 690 n. 55
(1978). “As long as the government entity receives notice and an
opportunity' to respond, an official-capacity suit is, in all
respects other than name, to be treated as a suit against the

entity.” Kentucky v. Graham, 473 U.S. 159, 165-66 (1985). Crews is
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employed by the City. Because Chidester’s suit names the City as a
Defendant, naming Crews as a defendant in his official capacity is
redundant. Chidester's suit against Crews in his official capacity
is DISMISSED.

A city can only be held liable under § 1983 if a plaintiff’s
constitutional rights were violated by the city's officials.
Eukowski v. City of Akron, 326 F.Bd 702, 712-13 (6th Cir. 2003)
(“[T]he determination that the City's officials did not violate the
plaintiff[‘s] constitutional rights resolves the claim[s] against
the City as well.”) The “factual allegations" section of
Chidester's Complaint sets out the acts that Chidester alleges
violated his constitutional rights and created his § 1983 claim.
The only city employee whose actions are described in the “factual
allegations" section of the Complaint is Sergeant Bickerstaff.

In an earlier order, this court dismissed Chidester's § 1983
claims against Sergeant Bickerstaff because the court determined
that Sergeant Bickerstaff's alleged. actions during' Chidester's
arrest did not violate Chidester’s constitutional rights. January
27, 2005, Order Granting Defendant Bickerstaff's Motion to Dismiss.
Because Chidester does not allege acts by any other City employees
that violated his constitutional rights, the court’s finding that

Chidester has no § 1983 claim against Sergeant Bickerstaff resolves

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the § 1983 claims against the City as well.l Thus, Chidester has no
§ 1983 claims against the City for a violation of his
constitutional rights, and the City of Memphis’ motion to dismiss

iS GRANTED.

So ordered this 7J/{\day of June 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

lChidester, in his response, does not argue that the acts of any City
employee other than Sergeant Bickerstaff violated Chidester‘s constitutional
rights. Chidester’s response argues only that the § 1983 claims against
Bickerstaff were wrongly dismissed. (Pl.'s Resp. at 1.)

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Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
Memphis7 TN 38122--372

Eugene C. Gaerig

LAW OFFICES OF EUGENE C. GAERIG
100 N. Main Street

Ste. 31 18

Memphis7 TN 38103

Christopher Lee BroWn

LAW OFFICE OF CHRISTOPHER L. BROWN
5104 Stage Rd.

Memphis7 TN 38134

Randall Blake Tolley

LAW OFFICE OF RANDALL 13. TOLLEY
242 Poplar Ave.

Memphis7 TN 38103

.1 ean Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

Memphis7 TN 38103

Henry L. Klein

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

Memphis7 TN 38119--397

Honorable Samuel Mays
US DISTRICT COURT

